  Case 2:11-cr-00024-RJJ        ECF No. 32, PageID.50         Filed 08/26/11     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION



 UNITED STATES OF AMERICA,

              Plaintiff,                                  HON. R. ALLAN EDGAR

 v.                                                       Case No. 2:11-cr-24-03

 BENJAMIN DAVID
 SONDERSCHAFFER,

            Defendant.
 _________________________________/


                                   ORDER OF DETENTION


              In accordance with the detention hearing conducted before the undersigned on August

26, 2011, and for the reasons stated on the record, IT IS HEREBY ORDERED that the defendant’s

bond shall be revoked and he shall be detained pending further proceedings.

              IT IS FURTHER ORDERED that the defendant shall be permitted to attend and

participate in AA and/or NA sessions while incarcerated at the Marquette County Jail.



Date: August 26, 2011                                       /s/ Timothy P. Greeley
                                                           TIMOTHY P. GREELEY
                                                           United States Magistrate Judge
